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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE APPLICATION OF
WP COMPANY LLC d/b/a THE WASHINGTON
POST FOR ACCESS TO CERTAIN SEALED
COURT RECORDS

Misc. Action No. 19-0051 (EGS)

 

NOTICE OF WITHDRAWAL
Pursuant to Local Rule of Criminal Procedure 44.5(e), please notice the withdrawal of

Brandon L. Van Grack as counsel for the government in the above-captioned matter.

Respectfully submitted,

BVA

Brandon L. Van Grack —

Chief, FARA Unit

National Security Division
950 Pennsylvania Ave., NW
Washington, DC 20530

May 7, 2020
